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                                       Slip Op. 20-132

                UNITED STATES COURT OF INTERNATIONAL TRADE



 BIOPARQUES DE OCCIDENTE, S.A.
 DE C.V., AGRICOLA LA PRIMAVERA,
 S.A. DE C.V., AND KALIROY FRESH
 LLC,

        Plaintiffs,

 v.
                                                 Before: Jennifer Choe-Groves, Judge
 UNITED STATES,
                                                 Court Nos. 19-00204, 19-00210, 20-00035
        Defendant,

 and

 THE FLORIDA TOMATO EXCHANGE,

        Defendant-Intervenor.



                                  OPINION AND ORDER

[Granting Defendant’s motion to dismiss.]

                                                           Dated: September 11, 2020

Jeffrey M. Winton, Michael Chapman, Amrietha Nellan, and Vi N. Mai, Winton & Chapman
PLLC, of Washington, D.C., for Plaintiffs Bioparques de Occidente, S.A. de C.V., Agricola La
Primavera, S.A. de C.V., and Kaliroy Fresh LLC.

Elizabeth Anne Speck, Commercial Litigation Branch, Civil Division, U.S. Department of
Justice, of Washington, D.C., for Defendant United States. On the brief were Joseph H. Hunt,
Assistant Attorney General, Jeanne E. Davidson, Director, and Franklin E. White, Jr., Assistant
Director. Of counsel was Emma T. Hunter, Office of Chief Counsel for Trade Enforcement and
Compliance, U.S. Department of Commerce.

Jonathan M. Zielinski, Robert C. Cassidy, Jr., Charles S. Levy, James R. Cannon, Jr., Mary Jane
Alves, and Chase J. Dunn, Cassidy Levy Kent (USA) LLP, of Washington, D.C., for The Florida
Tomato Exchange.
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       Choe-Groves, Judge: Plaintiffs Bioparques de Occidente, S.A. de C.V., Agricola La

Primavera, S.A. de C.V., and Kaliroy Fresh LLC (“Bioparques”) filed identical complaints

asserting different jurisdictional grounds in the following three actions challenging the final

determination made in the antidumping duty investigation of fresh tomatoes from Mexico

conducted by the U.S. Department of Commerce (“Commerce”), Fresh Tomatoes from Mexico,

84 Fed. Reg. 57,401 (Dep’t Commerce Oct. 25, 2019) (final determination of sales at less than

fair value): (1) Bioparques de Occidente, S.A. de C.V. v. United States, Court No. 19-00204;

(2) Bioparques de Occidente, S.A. de C.V. v. United States, Court No. 19-00210; and

(3) Bioparques de Occidente, S.A. de C.V. v. United States, Court No. 20-00035.1

       Bioparques pleads jurisdiction in Court Nos. 19-00204 and 19-00210 under 28 U.S.C.

§ 1581(c) through separate provisions of 19 U.S.C. § 1516a, and alternatively under this Court’s

residual jurisdiction, 28 U.S.C. § 1581(i)(4). Compl. ¶ 2. Specifically, Bioparques filed Court

No. 19-00204 under 19 U.S.C. § 1516a(a)(2)(A) and (B)(iv), id., which specifically refers to

judicial review of “any final determination resulting from a continued investigation which

changes the size of the dumping margin or net countervailable subsidy calculated, or the

reasoning underlying such calculations, at the time the suspension agreement was concluded.”

Bioparques filed Court No. 19-00210 under the special rules applicable to appeals of final

determinations involving NAFTA countries when review by a binational panel has not been

requested, 19 U.S.C. § 1516a(g)(3)(A)(i), and pleaded alternatively residual jurisdiction under 28

U.S.C. § 1581(i)(4). Compl. ¶ 2, Court No. 19-00210. Bioparques filed Court No. 20-00035

under 28 U.S.C. § 1581(i) if the court found the claims presented in Court Nos. 19-00204 and



1
 For ease of reference and because the three complaints are generally identical, except in
pleading jurisdiction, the court refers to the three complaints as the “Complaint” and, unless
otherwise noted, cites only to the Complaint in the first-filed case, Court No. 19-00204.
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19-00210 not cognizable under 19 U.S.C. § 1516a. Compl. ¶ 2, Court No. 19-00210; Pls.’ Resp.

to Def.’s Mot. to Dismiss 3, ECF No. 34 (“Opp’n Br.”).2

         Before the court is the motion to dismiss filed by Defendant United States (“Defendant”)

pursuant to USCIT Rule 12(b)(1) for lack of subject matter jurisdiction and USCIT Rule 12(b)(6)

for failure to state a claim upon which relief can be granted. Def.’s Mot. to Dismiss Br., ECF

No. 30 (“Def. Br.”). Bioparques opposed. Opp’n Br at 4–25. Defendant replied. Def.’s Am.

Reply in Supp. of its Mot. to Dismiss Pls.’ Compls., ECF No. 37 (“Def. Reply”).3 For the

reasons that follow, the court grants Defendant’s motion to dismiss.

    I.      BACKGROUND

            A. History of the Fresh Tomatoes from Mexico Antidumping Duty Proceeding

         Commerce’s investigation of fresh tomatoes has a long procedural history. In April

1996, Commerce initiated an antidumping duty investigation to determine whether imports of

fresh tomatoes from Mexico were being, or likely to be, sold in the United States at less than fair

value. Fresh Tomatoes from Mexico, 61 Fed. Reg. 18,377 (Dep’t Commerce Apr. 25, 1996)

(initiation of antidumping duty investigation). After a preliminary determination from the

International Trade Commission (“ITC”), Commerce made a preliminary determination that

imports of fresh tomatoes from Mexico were being sold in the United States at less than fair

value. Compl. ¶ 6; Fresh Tomatoes from Mexico, 61 Fed. Reg. 56,608 (Dep’t Commerce Nov.



2
 Plaintiffs “believe that there is some ambiguity as to which of the relevant statutory provisions
apply to [its] claims. . . . [And] therefore filed redundant appeals under all three statutory
provisions in order to ensure that, however the provisions might be interpreted, the Court would
have jurisdiction to hear all of Plaintiffs’ claims under at least one of the actions Plaintiffs filed.”
Opp’n Br. at 4.
3
 Defendant-Intervenor The Florida Tomato Exchange “support[s] the entirety of the United
States’ motion and agree[s] with the arguments presented therein.” Def.-Intervenor’s Resp. 2,
ECF No. 33.
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1, 1996) (preliminary determination). That same day, Commerce and certain growers and

exporters who accounted for substantially all of the imports of fresh tomatoes from Mexico into

the United States published a notice in the Federal Register announcing an agreement under 19

U.S.C. § 1673c(c) to suspend the antidumping duty investigation on fresh tomatoes from

Mexico. Compl. ¶ 7; Fresh Tomatoes from Mexico, 61 Fed. Reg. 56,618 (Dep’t Commerce

Nov. 1, 1996) (suspension of antidumping investigation). Commerce then instructed Customs

and Border Protection (“CBP”) to terminate the suspension of liquidation, release any bonds, and

refund cash deposits. CBP Message No. 7327113 (Nov. 22, 1996); see Fresh Tomatoes from

Mexico, 61 Fed. Reg. at 56,619.

       After entering the suspension agreement in 1996, Commerce and the signatories4 entered

into a series of suspension agreements after the Mexican exporters and producers of fresh

tomatoes gave notice of intent to withdraw from the operative suspension agreement in 2002,

2007, and 2013. Compl. ¶¶ 8–10; see Fresh Tomatoes from Mexico, 84 Fed. Reg. 20,858,

20,859–61 (Dep’t Commerce May 13, 2019) (termination of suspension agreement, rescission of

administrative review, and continuation of the antidumping duty investigation) (“May 2019

Withdrawal Notice”) (explaining the history of the proceedings). Each time the signatory

Mexican producers/exporters withdrew from the relevant suspension agreement in effect at that

time, the parties negotiated and entered into a new suspension agreement, and, in 2002, 2008,



4
  The term “signatory” or “signatories” mentioned throughout the various suspension agreements
refers to “producers/exporters accounting for substantially all imports of fresh tomatoes from
Mexico.” Fresh Tomatoes from Mexico, 84 Fed. Reg. 49,987, 49,987 (Dep’t Commerce Sept.
24, 2019) (suspension of antidumping duty investigation); Fresh Tomatoes from Mexico, 78 Fed.
Reg. 14,967, 14,968 (Dep’t Commerce Mar. 8, 2013) (suspension of antidumping investigation);
Fresh Tomatoes from Mexico, 73 Fed. Reg. 4831 (Dep’t Commerce Jan. 28, 2008) (suspension
of antidumping investigation); Fresh Tomatoes from Mexico, 67 Fed. Reg. 77,044 (Dep’t
Commerce Dec. 16, 2002) (suspension of antidumping investigation); Fresh Tomatoes from
Mexico, 61 Fed. Reg. at 56,619.
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and 2013, new suspension agreements went into effect. Fresh Tomatoes from Mexico, 67 Fed.

Reg. 77,044 (Dep’t Commerce Dec. 16, 2002) (suspension of antidumping investigation); Fresh

Tomatoes from Mexico, 73 Fed. Reg. 4831 (Dep’t Commerce Jan. 28, 2008) (suspension of

antidumping investigation); Fresh Tomatoes from Mexico, 78 Fed. Reg. 14,967 (Dep’t

Commerce Mar. 8, 2013) (suspension of antidumping investigation).

           B. Commerce’s Withdrawal from the 2013 Suspension Agreement,
              Continuation of the Underlying Investigation, and Signing of the 2019
              Suspension Agreement

       Section VI.B of the 2013 Suspension Agreement allowed either party (Commerce or the

Mexican signatories) to withdraw from that agreement upon giving 90 days’ written notice.

Commerce gave the signatory Mexican tomato growers and exporters notice of intent to

withdraw from the 2013 Suspension Agreement on February 6, 2019. May 2019 Withdrawal

Notice, 84 Fed. Reg. at 20,860; Fresh Tomatoes from Mexico, 84 Fed. Reg. 7872, 7874 (Dep’t

Commerce Mar. 5, 2019) (notice of intent to terminate suspension agreement, rescind the sunset

and administrative reviews, and resume the antidumping duty investigation). Commerce then

withdrew from the 2013 Suspension Agreement, effective May 7, 2019, and continued the

underlying antidumping investigation. Compl. ¶¶ 11–12; May 2019 Withdrawal Notice, 84 Fed.

Reg. at 20,858.

       Commerce published a notice in the Federal Register with an effective date of September

19, 2019, announcing that “Commerce and representatives of the signatory producers/exporters

accounting for substantially all imports of fresh tomatoes from Mexico signed” an agreement to

suspend the antidumping duty investigation. Fresh Tomatoes from Mexico, 84 Fed. Reg. at

49,989; Compl. ¶ 13. No party challenged Commerce’s decision to suspend the investigation.

The ITC also announced the suspension of its antidumping investigation as of September 24,
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2019. Fresh Tomatoes from Mexico, 84 Fed. Reg. 54,639 (Int’l Trade Comm’n Oct. 10, 2019)

(suspension of anti-dumping investigation).

           C. Commerce’s Final Determination

       After signing the 2019 Suspension Agreement, Commerce received requests to continue

its antidumping duty investigation under 19 U.S.C. § 1673c(g). Compl. ¶ 13; Fresh Tomatoes

from Mexico, 84 Fed. Reg. at 57,401. On October 25, 2019, Commerce published its final

determination in the continued investigation, finding that fresh tomatoes from Mexico were

being, or likely to be, sold in the United States at less than fair value. Compl. ¶ 13; Fresh

Tomatoes from Mexico, 84 Fed. Reg. at 57,402. The ITC issued an affirmative injury

determination on December 12, 2019. Fresh Tomatoes from Mexico, 84 Fed. Reg. 67,958 (Int’l

Trade Comm’n Dec. 12, 2019) (notice of material injury determination).

           D. The Current Litigation

       Bioparques filed the Summons in Court No. 19-00204 on November 22, 2019, ECF No.

1, and in Court No. 19-00210 on December 3, 2019, ECF No. 1. Bioparques then filed the

Complaint in Court No. 19-00204 on December 20, 2019, ECF No. 9, and in Court No.

19-00210 on December 23, 2019, ECF No. 9. Bioparques filed the Summons and Complaint

concurrently in Court No. 20-00035, ECF Nos. 1, 4, on February 5, 2020.

       Bioparques alleges that “Commerce’s final determination in [the underlying

investigation] was arbitrary and capricious, unsupported by substantial evidence on the record, or

otherwise not in accordance with law[.]” Compl. ¶ 14. Specifically, Bioparques challenges

Commerce’s continuation of the investigation, respondent selection decision, differential pricing

analysis, margin calculation methodology, and the calculation of general and administrative

expenses. Id. As relief, Bioparques requests that the court find unlawful and vacate
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Commerce’s withdrawal from the 2013 Suspension Agreement and the final determination in the

underlying fresh tomatoes investigation. Id. ¶ 15.

   II.      DISCUSSION

         Article III of the Constitution limits federal courts to hearing actual, ongoing

controversies. Davis v. FEC, 554 U.S. 724, 732 (2008). An actual case or controversy must be

extant at all stages of review, not merely at the time the complaint is filed. Id. at 732–33; see

DaimlerChrysler Corp. v. United States, 442 F.3d 1313, 1318 (Fed. Cir. 2006) (noting that the

Court is “presumed to be without jurisdiction unless the contrary appears affirmatively from the

record” (internal quotation marks and citations omitted)). “Though justiciability has no precise

definition or scope, doctrines of standing, mootness, ripeness, and political question are within

its ambit.” Fisher v. United States, 402 F.3d 1167, 1176 (Fed. Cir. 2005).

         The party invoking jurisdiction bears the burden of establishing it. Hutchinson Quality

Furniture, Inc. v. United States, 827 F.3d 1355, 1359 (Fed. Cir. 2016) (internal quotation marks

and citation omitted). A plaintiff must allege sufficient facts to state each claim alleged in the

complaint. DaimlerChrysler Corp., 442 F.3d at 1318–19 (citing, inter alia, McNutt v. Gen.

Motors Acceptance Corp., 298 U.S. 178, 189 (1936)). “If the court determines at any time that it

lacks subject-matter jurisdiction, the court must dismiss the action.” USCIT R. 12(h)(3).

         Defendant argues that Bioparques’ claims are not justiciable. Def. Br. at 13–20.

Specifically, Defendant contends that Bioparques’ challenge of Commerce’s withdrawal from

the 2013 Suspension Agreement and continuation of the underlying investigation is moot

because Bioparques is a member of an association of Mexican exporters/producers of fresh

tomatoes that signed the 2019 Suspension Agreement, and thus pays no antidumping duties. See

Def. Br. at 14–15; Def. Reply at 8–10. Defendant also avers that Bioparques’ claims are not ripe
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for review because Bioparuqes cannot plead a cognizable injury stemming from a final

determination that has no legal effect because of the extant suspension agreement, and has not

identified how the court could redress the purported injury. Def. Br. at 19–20; Def. Reply at 6–8.

Bioparques responds that although its complaint did not contain a specific count challenging the

suspension agreement, the claims present a live controversy and that “the Court has the authority

to vacate all actions by Commerce that flowed from the unlawful termination of the 2013

suspension agreement.” Opp’n Br. at 23.

        There is no “case or controversy” under Article III, and a suit becomes moot, “when the

issues presented are no longer ‘live’ or the parties lack a legally cognizable interest in the

outcome.” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013) (quoting Murphy v. Hunt, 455

U.S. 478, 481 (1982) (per curiam)). The mootness doctrine applies when “events have so

transpired that the [court’s] decision will neither presently affect the parties’ rights nor have a

more-than-speculative chance of affecting them in the future.” Clarke v. United States, 915 F.2d

699, 701 (D.C. Cir. 1990) (en banc) (citation omitted).

        An action can avoid dismissal on mootness grounds if the claims asserted in the

complaint are “capable of repetition, yet evading review.” Spencer v. Kemna, 523 U.S. 1, 17

(1998); Torrington Co. v. United States, 44 F.3d 1572, 1577 (Fed. Cir. 1995) (citations omitted).

“[T]he capable-of-repetition doctrine applies only in exceptional situations,” when a plaintiff can

show that “(1) the challenged action [is] in its duration too short to be fully litigated prior to

cessation or expiration, and (2) there [is] a reasonable expectation that the same complaining

party [will] be subject to the same action again.” Spencer, 523 U.S. at 17 (internal quotation

marks and citations omitted); see Honeywell Int’l, Inc. v. Nuclear Regulatory Comm’n, 628 F.3d

568, 576 (D.C. Cir. 2010) (“The initial heavy burden of establishing mootness lies with the party
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asserting a case is moot,” yet “the opposing party bears the burden of showing an exception

applies[.]”). Supreme Court precedent recognizes that “inherently transitory” claims are capable

of evading review. U.S. Parole Comm’n v. Geraghty, 445 U.S. 388, 399 (1980); e.g., Davis, 554

U.S. at 735 (election law challenge); Neb. Press Ass’n v. Stuart, 427 U.S. 539, 542 (1976)

(imposing prior restraints on speech); Gerstein v. Pugh, 420 U.S. 103, 110 n.11 (1975) (pretrial

detention conditions).

       “Ripeness is a justiciability doctrine designed to prevent the courts, through avoidance of

premature adjudication, from entangling themselves in abstract disagreements over

administrative policies, and also to protect the agencies from judicial interference until an

administrative decision has been formalized and its effects felt in a concrete way by

the challenging parties.” Nat’l Park Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 807–08

(2003) (internal quotation marks and citations omitted); Martin v. United States, 894 F.3d 1356,

1362 (Fed. Cir. 2018). Two criteria guide a court in determining ripeness: “(1) the fitness of the

issues for judicial decision and (2) the hardship to the parties of withholding court

consideration.” Nat’l Park Hosp. Ass’n, 538 U.S. at 808.

       Here, the court concludes that Bioparques’ claims challenging the final determination are

unripe. Bioparques suffers no concrete or particularized injury from an as-yet-unpublished

antidumping duty order that has no effect and may never have any effect so long as the 2019

Suspension Agreement remains in place. For the same reason, Bioparques cannot meet the

hardship requirement because Bioparques pays no antidumping duties as a member of the

Asociación Mexicana de Horticultura Protegida, A.C. (“AMHPAC”), an association of
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individual Mexican fresh tomato growers that is a signatory to the 2019 Suspension Agreement.5

Fresh Tomatoes from Mexico, 84 Fed. Reg. at 49,994; see Compl. n.1, CAADES, Court No. 19-

00203, ECF No. 14, Compl., Ex. 1, ECF No. 14-1 (identifying Bioparques de Occidente, S.A. de

C.V. and Agricola La Primavera, S.A. de C.V. as members of AMHPAC and signatories to the

2019 Suspension Agreement).6

       AMHPAC and the other associations of individual Mexican fresh tomato growers who

signed the 2019 Suspension Agreement “certif[ied] that the members of their organization agree

to abide by all terms of the Agreement.” Fresh Tomatoes from Mexico, 84 Fed. Reg. at 49,994.

Thus, Bioparques’ challenge to the final determination does not present an actual case or

controversy when Bioparques pays no duties as a signatory to the 2019 Suspension Agreement.

See, e.g., Usinas Siderúrgicas de Minas Gerais S/A v. United States, 26 CIT 422, 431 (2002) (“A

continued final affirmative determination [made after Commerce resumed an investigation after

finalizing a suspension agreement] has no practical effect, unless and until the related suspension

agreement is dissolved . . . . Thus, many of the same jurisprudential concerns that militate

against piecemeal litigation also weigh against litigation of . . . a challenge which is not yet (and

may never be) ripe.”) (“Usinas”).7



5
 AMHPAC is also a party plaintiff in cases challenging Commerce’s withdrawal of the 2013
Suspension Agreement, finalization of the 2019 Suspension Agreement, and the final
determination in the continued fresh tomatoes investigation in AMHPAC v. United States, Court
No. 20-00036, and Confederacion de Asociaciones Agricolas del Estado de Sinaloa, A.C. v.
United, Court Nos. 19-00203 and 19-00206 (“CAADES”).
6
 Section II.E of the 2019 Suspension Agreement identifies CAADES, AMHPAC, and three
other entities as “a Mexican grower association whose members produce and/or export Fresh
Tomatoes from Mexico and are also Signatories to this Agreement[.]” Fresh Tomatoes from
Mexico, 84 Fed. Reg. at 49,990.
7
 Bioparques’ reliance on the Court’s decisions in CSC Sugar LLC v. United States, 43 CIT ___,
413 F. Supp. 3d 1318 (2019), and CSC Sugar LLC v. United States, 43 CIT ___, 413 F. Supp. 3d
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       The parties dispute whether the Complaint contains a challenge to the 2019 Suspension

Agreement. Def. Br. at 11; Opp’n Br. at 6–7. Even if the Complaint included a count

challenging the new suspension agreement, that type of pleading deficiency is of no moment

because any claims that could have been raised under 28 U.S.C. § 1581(c) contesting

Commerce’s withdrawal from the 2013 Suspension Agreement, resumption of the underlying

investigation, or signing of the 2019 Suspension Agreement became moot when Bioparques

signed the 2019 Suspension Agreement. See Nasatka v. Delta Sci. Corp., 58 F.3d 1578, 1580

(Fed. Cir. 1995) (“The test for mootness . . . is whether the relief sought would, if granted, make

a difference to the legal interests of the parties[.]” (citation omitted)).8 Accordingly, the court

cannot condone Bioparques’ litigation strategy in reaping the benefits of the 2019 Suspension

Agreement while bringing an after-the-fact challenge to the final determination that currently has

no impact and demanding that the court resurrect the 2013 Suspension Agreement when the

claims here are not yet (and may never be) ripe.

       The Mexican producers/exporters of fresh tomatoes may withdraw from the 2019

Suspension Agreement for any reason, or for no reason at all, and without penalty, under a

similar withdrawal provision invoked three times before. In that event, Commerce would issue

the antidumping duty order, but there is no logical scenario in which the superseded 2013



1310 (2019) is misplaced. Unlike here, the Court in CSC Sugar LLC vacated amendments to
extant suspension agreements. 413 F. Supp. 3d at 1326; 413 F. Supp. 3d at 1318. Further, the
plaintiff in CSC Sugar LLC, a domestic sugar refiner, was not a signatory to the operative
suspension agreement.
8
  The court need not address Defendant’s unanswered argument that no exception to the
mootness doctrine applies here, Def. Br. at 17–19, beyond mentioning the absence of precedent
or persuasive case law showing that this case is an “exceptional situation” in which the
challenged actions are “capable of repetition, yet evading review.” See Spencer, 523 U.S. at 17;
Am. Spring Wire Corp. v. United States, 6 CIT 122, 124 (1983) (finding exception to mootness
inapplicable because “[s]uspension agreements . . . will generally be of long duration”).
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Suspension Agreement would be reinstated. As long as Plaintiffs remain signatories to the 2019

Suspension Agreement, the dumping margins will have no effect and will have no impact on

Plaintiffs.

           The court concludes that Bioparques’ failure to plead an actual case or controversy

compels dismissal. Because Bioparques’ claims are not ripe and are otherwise moot under

USCIT Rule 12(b)(1), the court need not discuss the parties’ arguments as to whether

Bioparques’ claims are time-barred or should be dismissed for failure to state a claim under

USCIT Rule 12(b)(6).

    III.      CONCLUSION

           For the foregoing reasons, it is

           ORDERED that Defendant’s motion to dismiss is granted and Plaintiffs’ Complaints are

dismissed with prejudice. Judgment will enter accordingly.


                                                                        /s/ Jennifer Choe-Groves
                                                                      Jennifer Choe-Groves, Judge


Dated: September 11, 2020
      New York, New York
